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24TH JUDICIAL DISTRICT COURT

PARISH OF JEFFERSON
STATE OF LOUISIANA
ITEM NUMBER: WARRANT NUMBER:
F-21850-22
ARREST WARRANT

STATE OF LOUISIANA

VERSUS
RANDAL QURAN REID - BLACK/AFRICAN AMERICAN/MALE

5094 Panola Mill Dr. Lithonia, Georgia 30038
DOB: 02/09/1994

DLAD #056138679 SSN:

Height: 5'10" Weight: 165

Eye Color: Brown Hair Color: Black
D/M:

TO ANY COMMISSIONED PEACE OFFICER:

WHEREAS, complaint has been made to me, upon the sworn affidavit of Detective Andrew R
Bartholomew, with the Jefferson Parish Sheriff's Office, charging one Randal Quran Reid with:

10 Count(s) of 14:71.1-- BANK FRAUD-- (Felony)
10 Count(s) of 14:67.16 C(1-3)-- Identity Theft (Felony)-- (Felony)
1 Count(s) of 14:67 B2-- Theft $5000 but less than $25k (Felony)-- (Felony)

Committed on or about the date(s) of 06-22-2022.

Now, therefore, you are hereby commanded, in the name of the State, to apprehend and arrest and book the
said accused to answer the said complaint. You are further commanded to keep the said accused in safe
custody until released according to law, and this shall be your warrant.

Given under my official signature, this 18 day of Jul, 2022 at 04:28 PM.

A for WESC- “biomes fit

Nab— 11055) .

—- Judge Paul Schneider
24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA
PLAINTIFF'S
EXHIBIT

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Case Number: F-21850-22 Warrant Number: Approved on: Jul, 18, 2022 at 04:28 PM
